
Loretta H. Rush, Chief Justice of Indiana
On January 22, 2018, this Court ordered Respondent to show cause why Respondent should not be immediately suspended from the practice of law in this state for failure to cooperate with the Commission's investigation of a grievance, No. 18-0717 , filed against Respondent. The order required that Respondent show cause in writing within ten days of service of the order. Respondent has not submitted a response to the Court's order to show cause. On February 14, 2018, the Commission filed a "Request for Ruling and to Tax Costs" asserting that Respondent still has not cooperated, to which Respondent has not responded.
Being duly advised, the Court ORDERS that Respondent be suspended from the practice of law for noncooperation with the Commission, effective immediately. Pursuant to Admission and Discipline Rule 23 (10.1)(c)(3), this suspension shall continue until the Executive Director of the Disciplinary Commission certifies to the Court that Respondent has cooperated fully with the investigation or until further order of this Court, provided there are no other suspensions then in effect. Respondent is ordered to fulfill the duties of a suspended attorney under Admission and Discipline Rule 23(26).
IT IS FURTHER ORDERED, pursuant to Admission and Discipline Rule 23 (10.1)(d), that Respondent reimburse the Disciplinary Commission $519.68 for the costs of prosecuting this proceeding.
All Justices concur.
